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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                 Plaintiff,
vs.                                            No. 11-40557-04-RDR

ALFREDO BURGOIN, Jr.,

                 Defendant.

            ORDER FOR EXTENSION OF TIME IN WHICH TO FILE
                          PRE-TRIAL MOTIONS

      NOW on this 19th day of October, 2011, this matter comes on for

hearing upon the motion of the defendant herein.          The United States

appears by Greg Hough, Assistant United States Attorney.              The

defendant appears by and through his attorney, Michael G. Highland.

There are no other appearances.

      WHEREUPON, after reviewing the documents and records on file

with this Court, hearing the evidence and being well and fully

advised in the premises, the Court finds:

      1.   That defense motions were ordered to be filed on or

           before October 17, 2011;

      2.   That the defense counsel has yet to complete the review

           of the discovery materials made available by the U.S.

           Attorney’s Office, as additional discovery was received

           by Counsel on September 28, 2011, and on October 7, 2011;

      3.   That the Assistant United States Attorney does not oppose

           the granting of the above motion;

      4.   That the defendant understands that any delays caused by

           this application are excluded from speedy trial
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           calculations.       United States v. Mobile Materials, Inc.,

           871 F.2d 902 (10th Cir. 1989).


     IT IS THEREFORE BY THE COURT ORDERED, ADJUDGED AND DECREED

that the defendant’s Pretrial Motions shall be filed by

the 17th day of November, 2011.


                                         s/Richard D. Rogers
                                         United States District Judge

Prepared by:


           /s/
Michael G. Highland, #14331
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Bonner Springs, Kansas 66012
Off: (913) 441-4783
Fax: (913) 441-3656
Attorney for Defendant,
Alfredo Burgoin, Jr.




                        CERTIFICATE OF DELIVERY

     The undersigned does hereby certify that a true and correct copy
of the above Order For Extension of Time in Which to File Pretrial
Motions was electronically delivered to Greg Hough, Assistant United
States Attorney, 444 SE Quincy, Topeka, Kansas 66101, on this 17th
day of October, 2011.



                                                /s/
                                         Michael G. Highland
                                         Attorney for Defendant,
                                         Alfredo Burgoin, Jr.
